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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                        )
                                                 )            8:09CR251
                     Plaintiff,                  )
                                                 )
       vs.                                       )              ORDER
                                                 )
TROY R. HOLLENBECK and                           )
JON G. WHITAKER, JR.,                            )
                                                 )
                     Defendants.                 )
       This matter is before the court on the motion to continue by defendant Jon G.
Whitaker, Jr. (Whitaker) (Filing No. 50). Whitaker seeks a continuance of the trial of this
matter which is scheduled for October 26, 2009. Whitaker’s counsel has represented to
the court that Whitaker will submit an affidavit wherein Whitaker consents to the motion and
acknowledges he understands the additional time may be excludable time for the purposes
of the Speedy Trial Act. Whitaker’s counsel represents that government’s counsel has no
objection to the motion. Upon consideration, the motion will be granted as to all
remaining defendants.


       IT IS ORDERED:
       1.     Whitaker's motion to continue trial (Filing No. 50) is granted.
       2.     Trial of this matter is re-scheduled for December 7, 2009, before Chief Judge
Joseph F. Bataillon and a jury. The ends of justice have been served by granting such
motion and outweigh the interests of the public and the defendant in a speedy trial. The
additional time arising as a result of the granting of the motion, i.e., the time between
October 19, 2009 and December 7, 2009, shall be deemed excludable time in any
computation of time under the requirement of the Speedy Trial Act for the reason that
defendants' counsel require additional time to adequately prepare the case. The failure to
grant additional time might result in a miscarriage of justice. 18 U.S.C. § 3161(h)(8)(A) &
(B).
       DATED this 19th day of October, 2009.
                                                 BY THE COURT:
                                                 s/Thomas D. Thalken
                                                 United States Magistrate Judge
